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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


STATE OF NEW MEXICO, et al.,

             Plaintiffs,                     C.A. No. 1:25-cv-00429

      v.                                     REPLY IN SUPPORT OF MOTION
                                             FOR TEMPORARY RESTRAINING
ELON MUSK, et al.,                           ORDER

             Defendants.
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       Plaintiffs file this limited reply to address arguments not raised by Defendants in the

hearing on Friday but raised in their response to Plaintiffs’ revised proposed temporary restraining

order [Doc. No. 9-01]. Defendants minimize the ongoing and imminent harm that Plaintiffs have

identified, misconstrue Plaintiffs’ legal theories and requested relief, and fail to offer any

persuasive defense on the merits. See Defs.’ Resp. to Rev. Proposed TRO, ECF 20 (Feb. 15,

2025). The Court should enter the revised proposed TRO to preserve the rapidly deteriorating

status quo that existed prior to DOGE’s creation with Mr. Musk at the helm – a normally

functioning federal government led by individual officers at their respective agencies.

I.     Plaintiffs’ requested TRO relief is justified and necessary to prevent further
       irreparable harm.

      Defendants asks the Court to ignore the significant evidence of on-going and imminent

irreparable harm, despite Plaintiffs’ detailed description of those harms in the Complaint and their

application for a temporary restraining order. Imminent threats exist with respect to Defendants’

alarming misuse and treatment of sensitive data. DOGE has already posted classified information

on its website,1 which “has a major security flaw that allows hackers to easily edit its web pages.”2

Data disclosed into the public domain cannot be clawed back.3

      The sweeping reductions in force driven by Mr. Musk’s and DOGE’s analysis of agency

data – data collected for purposes other than for making agency downsizing decisions – have the


1
  See Will Steakin, Lucien Bruggeman, and Cindy Smith, Agency Data Shared by DOGE Online
Sparks Concern Among Intelligence Community, ABC News (Feb. 15, 2025),
https://abcnews.go.com/US/agency-data-shared-doge-online-sparks-concern-
intelligence/story?id=118858837.
2
  Jibin Joseph, Security Flaw: DOGE Is So Transparent Anyone Can Edit Its Website, PC
Magazine (Feb. 14, 2025), https://www.pcmag.com/news/security-flaw-doge-is-so-transparent-
anyone-can-edit-its-website.
3
  See also Jacob Bogage and Jeff Stein, Musk’s DOGE seeks access to personal taxpayer data,
raising alarm at IRS, Washington Post (Feb. 16, 2025),
https://www.washingtonpost.com/business/2025/02/16/doge-irs-access-taxpayer-data/ (another
example of DOGE seeking access to sensitive data, this time of individual taxpayers).
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effect of decimating entire agencies and are not some “hypothetical chain of events.” Id. at 6. As

the events of the last several weeks and new DOGE documents confirm, mass layoffs and

dismantling of agencies are on-going and similar actions driven by the work of Mr. Musk and

DOGE-personnel are imminent. For instance, Mr. Musk and DOGE have threatened to demolish

the Department of Education (ED). Compl. ¶ 168. And starting this Wednesday, February 19,

2025, they plan to engage in mass firings of employees at civil rights and employment

discrimination offices within ED, whose existence is mandated by law.4 Each of the departments

and agencies identified in Plaintiffs’ revised proposed order are reflected in recently published

DOGE documents as Mr. Musk’s and DOGE’s targets for massive reductions in force.

      Institutions are not quickly rebuilt; repairing such damage takes considerable time. And in

the meantime, without a TRO, Plaintiffs have no means for remedying the immediate loss of

federal partners on whom Plaintiffs have relied for years to implement programs and funding

approved by Congress. Likewise, the continued chaos and uncertainty surrounding the fate of

various federal agencies has a real and lasting impact on Plaintiffs, who must devote substantial

time and resources they can never effectively recover preparing for agency “deletion.” TRO Mot.

at 9-10.

      Without a TRO, Plaintiffs will suffer irreparable harm from the ongoing threats of disclosure

of highly sensitive information and continued demolition of critical parts of federal agencies on

which Plaintiffs depend. See Order, Dellinger v. Bessent, No. 25-5028, slip op. at *5 (D.C. Cir.,

Feb. 15, 2025) (per curiam) (stating that “[t]he standard for obtaining either a TRO or a preliminary



4
  Hannah Natanson and Chris Deghanpoor, Records Show How DOGE Planned Trump’s DEI
Purge – and Who Gets Fired Next, Washington Post (Feb. 15, 2025),
https://www.washingtonpost.com/nation/2025/02/15/doge-fire-federal-employees-trump-dei/.
See also ECF 19-2 at 2 (Plaintiffs’ Supplemental Notice citing the same); Compl. ¶ 236
(describing the importance of federal civil rights offices to states).
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injunction is identical” (citing Gordon v. Holder, 632 F.3d 722, 723-24 (D.C. Cir. 2011)). As

materials made public this weekend show, Defendants have demonstrated and expressly confirmed

their intentions.5 The Court need not wait. Cf. Armstrong v. Bush, 807 F. Supp. 816, 820-21

(D.D.C. 1992) (“While the Defendants contend they are not currently planning any wholesale

purge of their electronic records, they are unwilling to guarantee that such a purge will not take

place… [M]indful that the most compelling reason to grant injunctive relief is to prevent the

judicial process from being rendered futile by a party’s act or refusal to act, the Court finds that

the Plaintiffs have made a showing of immediate and irreparable harm.”).

        Defendants also argue that the revised proposed TRO is “too sweeping” and that relief can

be entered on only “an agency-by-agency basis.” ECF 20 at 4. Again, Defendants misrepresent

what Plaintiffs seek. Plaintiffs do not ask this Court to “enjoin an entire class of conduct by the

Executive Branch,” ECF 20 at 5, or to change how the federal government has operated for years.

The requested relief has nothing to do with the vast governmental conduct directed by lawfully

appointed principal and inferior officers across a wide range of federal agencies. The proposed

TRO is directed solely to Defendants Musk and DOGE. It would merely stop, on a temporary

basis, Defendants Musk and DOGE from directing personnel decisions and accessing data from

other parts of the federal government. Federal agencies would not be enjoined from their normal

functions that existed well before Mr. Musk and DOGE arrived less than a month ago.

II.      Plaintiffs’ requested relief is firmly grounded in their legal theories.

         Defendants also argue that the requested relief regarding data access is “fundamentally

disconnected from [Plaintiffs’] legal theories” and that “data access … does not involve any

exercise of authority at all.” (ECF 20 at 2-4.) They further contend that mere access to data is not



5
    Natanson and Deghanpoor, supra note 4.
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a constitutional issue. (ECF 20 at 2.) Were DOGE simply fulfilling the mandate of the DOGE

Executive Order to “modernize federal technology and software,” Defendants’ contention might

be relevant. But as Defendants well know, DOGE has and continues to do far more with the data

it has accessed than that. Indeed, DOGE does not need access to sensitive, restricted data “to

promote inter-operability between agency networks” as provided in the Executive Order, which

the President expressly confirmed to the public. Compl. ¶ 69. Instead, DOGE needs access to

sensitive information to use it for executive actions that violate the Constitution, like the personnel

directives from Mr. Musk and DOGE for which Plaintiff States seek to maintain the status quo.

The assertion of that executive authority is the heart of Plaintiffs’ case. See generally Lucia v. Sec.

& Exch. Comm’n, 585 U.S. 237, 245 (2018) (the legal inquiry for an appointments clause challenge

is “focused on the extent of power an individual wields in carrying out his assigned functions”).

Defendants do not even try to dispute that the broad authority the President recently gave to Mr.

Musk and DOGE over personnel decisions is subject to an Appointments Clause challenge.6

III.   The record contradicts Defendants’ only defense on the merits.

       Defendants’ only merits defense is that Mr. Musk is merely an advisor with no authority

of his own. ECF 20 at 3. But this implausible claim is not just unsupported by any actual evidence;

in fact, the public record refutes it outright. Just yesterday, DOGE records came to light showing

that DOGE has been directing agency heads to terminate or lay off employees, not merely advising

them to do so. In a draft FAQ document “that DOGE created for agency heads . . . the second

question — posed from the perspective of an agency head — asks, ‘Under what authority are you




6
   See “Implementing the President’s ‘Department of Workforce Efficiency’ Workforce
Optimization Initiative” (Feb. 11, 2025) at https://www.whitehouse.gov/presidential-
actions/2025/02/implementing-the-presidents-department-of-government-efficiency-workforce-
optimization-initiative/.
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directing us to do this?’” DOGE’s draft response to that FAQ states: “EO[?]”.7 The question mark

at the end of the document is telling; even Defendants appear uncertain whether there is a

legitimate source for their authority.

       The DOGE FAQ confirms what has been evident over the last several weeks: Defendant

Musk wields far more power than a mere advisor. For example, when DOGE personnel were

denied access to secure USAID areas, Mr. Musk threatened to call federal marshals. Compl. ¶ 95.

DOGE personnel then handed the agency’s acting leadership a list of 58 people to put on leave.

Id. ¶ 102. The agency’s acting leadership were skeptical but relented. Id. Mr. Musk declared that

USAID was a “criminal organization” and that it was “[t]ime for it to die.” Id. ¶ 98. He then

nearly destroyed the agency and admitted it, publicly stating that “[w]e spent the weekend feeding

USAID into the woodchipper.” Id. He made clear that, although President Trump approved the

plan to eviscerate USAID, he and the DOGE entities were responsible for creating and executing

that plan: “I went over it with him [President Trump] in detail, and he agreed that we should shut

it down. . . . And so we’re shutting it down.” Id. ¶ 100; see generally TRO Mot. at 5.

      Similarly, at the U.S. Department of Education, over 100 contracts worth over $1 billion

were cancelled this week, including $336 million in contracts that “help states apply evidence-

based practices to teaching.”8 “But the decisions were not made by the institute’s leaders or

education experts. Rather, the canceled contracts were all on a list drawn up by a U.S. DOGE




7
 See Natanson and Deghanpoor, supra note 1 (emphasis added).
8
  Laura Meckler and Hannah Natanson, DOGE rips through Education Department, cutting
contracts,   staff    and     grants,     Washington      Post    (Feb.    14,       2025),
https://www.washingtonpost.com/education/2025/02/13/doge-education-department-cuts/.
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Service team . . . .” Id. “In addition, DOGE caused about 100 Education Department employees

to be put on administrative leave . . . .” Id. Mr. Musk is not merely the agencies’ tech support.

IV.    Plaintiffs oppose converting their TRO motion to one for a preliminary injunction.

       The Court should reject Defendants’ request to convert Plaintiffs’ TRO motion to one for a

preliminary injunction. See ECF 20 at 6. Rule 65 provides no basis for such an involuntary

conversion, and Defendants cite no authority in support. Plaintiffs, not Defendants, decide when

to move for a preliminary injunction. Cf. L.R. Civ. 65.1(d) (a request for a hearing on an

application for a preliminary injunction may be made by “the moving party”). Here, Defendants’

conduct implicates fact issues. Plaintiffs intend to seek leave, if necessary, to take expedited

discovery to gather even more evidence, including from Defendants’ own documents, showing

that Mr. Musk is acting with significant authority, and not as a mere advisor as the government

asserts.

       Plaintiffs will promptly confer with opposing counsel regarding discovery and, if necessary,

file a motion for expedited discovery soon thereafter.

V.     An unappealable TRO cannot be stayed, and no security is necessary.
       If this Court grants Plaintiffs’ motion, Defendants request a stay pending appeal. ECF 20 at

6-7. But as the D.C. Circuit just confirmed, a TRO is generally not an appealable order, and that

certainly would hold true in this case where much of the dispute is factual and this Court will not

have addressed the entire dispute at the TRO stage. See Dellinger, No. 25-5028, at *6-8 (per

curiam) (“The relief requested by the government is itself extraordinary: The government asks us

to resolve disputed issues that plainly have not been finally adjudicated by the district court.”); see

also id. at *17 (Katsas, J., dissenting in part, because “the questions presented, which the district

court has thoroughly addressed, are purely legal in nature”). Defendants have not otherwise tried



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to meet their “burden of showing that [any] TRO in this case functions as an appealable

injunction.” See id. at *8.

       In addition, Defendants cannot show any prejudice from maintaining the status quo such

that security is required here. “It is well settled that Rule 65(c) gives the Court wide discretion …

not only to set the amount of security but to dispense with any security requirement whatsoever.”

Fox Television Stations, Inc. v. FilmOn X LLC, 966 F. Supp. 2d 30, 53 (D.D.C. 2013) (citations

omitted). Defendants have not explained how a TRO will do them “material damage.” Id.; see

also Lofton v. District of Columbia, 7 F. Supp. 3d 117, 125 n.7 (D.D.C. 2013) (“[T]he Court finds

that the temporary restraining order here will not cause the defendants any ‘material damage’ [and]

therefore, will not require the plaintiffs to post any security before this Order takes effect.”).

Defendants have not even attempted to argue that Mr. Musk or DOGE have authority to fire

personnel at other agencies, or that a bond would be necessary to protect such an entitlement. See

ECF 20 at 7 (requesting a bond only for “the lost productivity of workers”). Indeed, it would be

difficult to make that showing when the federal government had been functioning for decades

without Mr. Musk or DOGE exercising the authority they have been for the last four weeks.

                                               ***

       The Plaintiff States ask this Court to enter the proposed revised TRO.


Dated: February 16, 2025

                                              Respectfully submitted,

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